Case 1:20-cv-00984-WCB   Document 389-1 Filed 11/19/24   Page 1 of 53 PageID #:
                                   18698




                         EXHIBIT H
       Case 1:20-cv-00984-WCB                    Document 389-1         Filed 11/19/24           Page 2 of 53 PageID #:
                    UNITED STATES PATENT AND TRADEMARK
                                                  18699 OFFICE
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    APPLICATION NO.            FILING DATE             FIRST NAMED INVENTOR             ATTORNEY DOCKET NO.                     CONFIRMATION NO.

       90/019,161              02/13/2023                    10838388                             760180.824                          7086

       23911            7590            03/23/2023                                                                  EXAMINER
       CROWELL & MORING LLP
                                                                                                              HUGHES, DEANDRA M
       INTELLECTUAL PROPERTY GROUP
       P.O. BOX 14300
       WASHINGTON, DC 20044-4300                                                                   ART UNIT                      PAPER NUMBER

                                                                                                       3992


                                                                                                  MAIL DATE                      DELIVERY MODE

                                                                                                   03/23/2023                        PAPER


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.




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                                               18700
           UNITED STATES PATENT AND TRADEMARK OFFICE

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    EX PARTEREEXAMINATION COMMUNICATION TRANSMITTAL FORM


REEXAMINATION CONTROL NO. 90/019, 161.

PATENT UNDER REEXAMINATION 10838388.

ART UNIT 3992.




Enclosed is a copy of the latest communication from the United States Patent and Trademark
Office in the above identified ex parte reexamination proceeding (37 CFR 1.550(f)).



Where this copy is supplied after the reply by requester, 37 CFR 1.535, or the time for filing a
reply has passed, no submission on behalf of the ex parte reexamination requester will be
acknowledged or considered (37 CFR 1.550(g)).




PTOL-465 (Rev.07-04)

                                             Page 184 of 493
              Case 1:20-cv-00984-WCB                Document 389-1 Filed 11/19/24                  Page 4 of 53 PageID #:
                                                              18701
                                                                 Control No.                         Patent Under Reexamination
                                                                 90/019,161                          10838388
                Order Granting Request For
                  Ex Parle Reexamination                         Examiner                            Art Unit   AIA (FITF) Status
                                                                 DEANDRA M HUGHES                    3992       Yes


        --The MAILING DA TE of this communication appears on the cover sheet with the correspondence address--


        The request for ex parte reexamination filed 10 February 2023 has been considered and a determination
        has been made. An identification of the claims, the references relied upon, and the rationale supporting the
        determination are attached.

        Attachments:               a)~   PTO-892,      b)O        PTO/SB/08,             c)O     Other:

     1. ~         The request for ex parte reexamination is GRANTED.

                            RESPONSE TIMES ARE SET AS FOLLOWS:

          For Patent Owner's Statement (Optional): TWO MONTHS from the mailing date of this communication
          (37 CFR 1.530 (b)). EXTENSIONS OF TIME ARE GOVERNED BY 37 CFR 1.550(c).

          For Requester's Reply (optional): TWO MONTHS from the date of service of any timely filed
          Patent Owner's Statement (37 CFR 1.535). NO EXTENSION OF THIS TIME PERIOD IS PERMITTED.
          If Patent Owner does not file a timely statement under 37 CFR 1.530(b), then no reply by requester
          is permitted.




'DEANDRA M HUGHES/
Reexamination Specialist, Art Unit 399

  cc:Requester ( if third party requester)
U.S. Patent and Trademark Office
PTOL-471G(Rev. 01-13)                                  Office Action in Ex Parte Reexamination              Part of Paper No. 20230306




                                                           Page 185 of 493
Case 1:20-cv-00984-WCB     Document 389-1 Filed 11/19/24              Page 5 of 53 PageID #:
                                        18702
Application/Control Number: 90/019, 161                                              Page 2
Art Unit: 3992
            ORDER GRANTING REQUEST FOR EX PARTE REEXAMINATION

                                     Acknowledgements

 1.     This is an order granting Ex Parte Reexamination of claims 1-20 of U.S. Patent

No. 10,838,388, ("'388 Patent") issued Nov. 17, 2020 and filed on Sept. 10, 2018 as

U.S. Application No. 16/126,075 ("075 Application"), titled "SCENT SCHEDULE BASED

ON RELATEDNESS OF SCENT DELIVERY DEVICES IN A SCENT DELIVERY

SYSTEM"

2.      The '388 Patent issued with claims 1-20 ("Patented Claims"), which are grouped

as follows:

        -     Claims 1-7;
        -     Claims 8-14; and
        -     Claims 15-20.

3.      The '388 Patent is a continuation of U.S. Patent No. 9,446,162 ("'162 Patent")

issued Sep. 20, 2016 and filed on Jul. 10, 2013 as U.S. Application No. 13/939, 159

("'159 Application"), which is a continuation of U.S. Patent No. 10,073,430 ("'430

Patent") issued Sep. 11, 2018 and filed on Aug. 22, 201 as U.S. Application No.

 13/939, 159 ("'159 Application").

4.      U.S. Application No. 17/097,024 ("'024 Application") filed Nov. 13, 2020 is a

continuation of the '388 Patent.

5.      Examiners find the following litigation involving the '388 Patent.

        -     Prolitec Inc. v. Scentair Technologies, LLC, Civil Action No. 20-984-RGA-MP
              (United States District Court for the District of Delaware)

6.      Examiners do not find any previous and/or co-pending Ex parte reexaminations

or supplemental examinations for the '388 Patent.




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                                        18703
Application/Control Number: 90/019, 161                                                 Page 3
Art Unit: 3992
                                   Evidence Considered

7.     The following is the evidence considered in this order:

       (1)     JP 2009-217641 ("Hamada");

       (2)      Computer Organization and Programming in Reference Data for
                Engineers (9th Ed.), 2002 by John Wakerly ("Wakerly'');

       (3)      Computer Networking: A Top-Down Approach, James F. Kurose, Keith W.
                Ross (6th Ed.) February 24, 2012 ("Kurose");

       (4)      U.S. Patent Publication No. 2008/0081635 ("Jonsson");

       (5)      USP 6,799,266 ("Statzer")

       (6)      U.S. Patent Publication No. 2013/0131883 ("Yamada");



             Proposed Substantial New Questions of Patentabi/ity ("SNQs")

8.     The following SNQs are alleged to present an SNQ as to patent claims 1-20:

       (A)     Claims 1-20 are alleged to be anticipated by Hamada, as evidenced by
               Wakerly and Kurose (see Request, pgs. 15-37);

       (B)      Claims 1-20 are alleged to be unpatentable over the combination of the
                Hamada, Jonsson, and Statzer (see Request, pgs. 38-66);

       (C)     Claims 1-3, 5-10, 12-17, and 19-20 are alleged to be unpatentable over
               the combination of the Hamada and Yamada (see Request, pgs. 67-95);
               and

       (D)      Claims 4, 11, and 18 are alleged to be unpatentable over the combination
                of the Hamada, Yamada, and Jonsson (see Request, pgs. 96-68).



                 Basis of the Substantial New Question of Patentability

9.     Under MPEP §2242, for a substantial new question ("SNQ") of patentability to be

present, it is only necessary that: (A) the prior art patents and/or printed publications

raise a substantial question of patentability regarding at least one claim, i.e., the

teaching of the (prior art) patents and printed publications is such that a reasonable




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                                        18704
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Art Unit: 3992
examiner would consider the teaching to be important in deciding whether or not the

claim is patentable; and (B) the same question of patentability as to the claim has not

been decided by the Office in an earlier concluded examination or review of the patent,

raised to or by the Office in a pending reexamination or supplemental examination of

the patent, or decided in a final holding of invalidity (after all appeals) by a federal court

in a decision on the merits involving the claim.



                              Relevant Prosecution History

 10.   The '075 Application became the '388 Patent, which is the patent requested for

reexamination.

       Claims 1-20 of the '075 Application were rejected over non-statutory

obviousness-type double patenting ("ODP") as being patentably indistinct from claims 1-

20 of USP 10,073,430 ("'430 Patent"), which was filed as US App. No. 15/243,509

("'509 Application") (see NF Action mailed Jan. 3, 2020). A terminal disclaimer was filed

on June 29, 2020, which overcame the ODP rejection over the '430 Patent.

       Claims 1-20 of the '075 Application were rejected under 35 U.S.C.

 102(a)(1 )/(a)(2) as being anticipated by U.S. Patent Publication No. 2011 /0089260A 1 to

Van Roemburg (hereafter "Van Roemburg").

       Claim 1 was put into condition for allowance with the following claim

amendments.

                   1. (Currently Amended) A computer-implemented
              method for delivering scents, comprising:

                    establishing a communication network including a
              central controller and one or more networked scent




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                                        18705
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              delivery devices, wherein the central controller is
              configured to control an operation of each of the one or
              more networked scent delivery devices, [[and]] wherein
              controlling the operation is based on one or more master
              schedules, and wherein the central controller stores an in
              table in which verification information relating to each
              networked scent delivery device is stored and an out table
              in which instructions for each networked scent delivery
              device are stored;

                     generating command data that is configured to
              control the operation of a networked scent delivery device
              of the one or more networked scent delivery devices,
              wherein the command data is generated based on the
              instructions stored in the out table of the central controller
              one or more master scenting schedules;

                     transmitting the command data to the networked
              scent delivery device using the communication network,

                     receiving a signal from the networked scent
              delivery device using the communication network,
              wherein the signal includes status data representing a
              status of the networked scent deliver device; and

                    storing the status associated with the networked
              scent delivery device in the in table of the central
              controller, wherein the status stored in the in table of the
              central controller identifies a functionality of the
              networked scent delivery device, thereby providing a real-
              time status update for each networked scent delivery
              device.



      Claim 8 was put into condition for allowance with the following claim

amendments.

              8. (Currently Amended) A system for delivering scents,
              compnsmg:




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                                      18706
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             one or more data processors; and

                   a non-transitory computer-readable storage medium
             containing instructions which, when executed on the one
             or more data processors, cause the one or more data
             processors to perform operations including:

                    establishing a communication network including a
             central controller and one or more networked scent
             delivery devices, wherein the central controller is
             configured to control an operation of each of the one or
             more networked scent delivery devices, [[and]] wherein
             controlling the operation is based on one or more master
             schedules, and wherein the central controller stores an in
             table in which verification information relating to each
             networked scent delivery device is stored and an out table
             in which instructions for each networked scent delivery
             device are stored:

                    generating command data that is configured to
             control the operation of a networked scent delivery device
             of the one or more networked scent delivery devices,
             wherein the command data is generated based on the
             instructions stored in the out table of the central controller
             one or more master scenting schedules-:

                    transmitting the command data to the networked
             scent delivery device using the communication network,

                    receiving a signal from the networked scent
             delivery device using the communication network,
             wherein the signal includes status data representing a
             status of the networked scent delivery device; and

                   storing the status associated with the networked
             scent delivery device in the in table of the central
             controller, wherein the status stored in the in table of the
             central controller identifies a functionality of the
             networked scent delivery device, thereby providing a real-




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                                         18707
 Application/Control Number: 90/019, 161                                          Page 7
 Art Unit: 3992

               time status update for each networked scent delivery
               device.


       Claim 15 was put into condition for allowance with the following claim

 amendments.

               15. (Currently Amended) A computer-program product
               tangibly embodied in a non- transitory machine-readable
               storage medium, including instructions configured to
               cause a data processing apparatus to perform operations
               including:

                      establishing a communication network including a
               central controller and one or more networked scent
               delivery devices, wherein the central controller is
               configured to control an operation of each of the one or
               more networked scent deliver)' devices, [[and]] wherein
               controlling the operation is based on one or more master
               schedules, and wherein the central controller stores an in
               table in which verification information relating to each
               networked scent delivery device is stored and an out table
               in which instructions for each networked scent delivery
               device are stored:

                       generating command data that is configured to
               control the operation of a networked scent delivery device
               of the one or more networked scent delivery devices,
               wherein the command data is generated based on the
               instructions stored in the out table of the central controller
               ffl½C or more master scenting schedules.


                      transmitting the command data to the networked
               scent delivery device using the communication network,

               receiving a signal from the networked scent delivery
               device using the communication network, wherein the
               signal includes status data representing a status of the
               networked scent delivery device; and




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                                         18708
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                        storing the status associated with the networked
                  scent delivery device in the in table of the central
                  controller, wherein the status stored in the in table of the
                  central controller identifies a functionality of the
                  networked scent delivery device, thereby providing a real-
                  time status update for each networked scent delivery
                  device.


 --The teaching that forms the basis of the SNQ.--

 11.     Based on the prosecution history of the '388 Patent, Examiners consider the

 following teaching by the (prior art) patents and printed publications to be a teaching

 that a reasonable examiner would consider important in deciding whether claims 1-20 of

 the '388 patent are patentable:

         a central controller that stores an in table in which verification information relating
         to each netwrked scent delivery service is stored and an out table in which
         instructions for each netwrk scent delivery device are stored to provide a real
         time status update for each netwrked scent delivery device.

         In addition, this teaching of the (prior art) patents and printed publications would

 be considered "new" if the same question of patentability as to the claims has not been

 decided by the Office in the '509 Application. 1 In other words, a "new" teaching would

 not be cumulative to the teaching of Van Roemburg because Van Roemburg was

 considered in the prosecution of the '509 Application.




 1
   Examiners do not find a pending reexamination or supplemental examination of the '388 Patent or a
 final holding of invalidity (after all appeals) by a federal court in a decision on the merits involving the '388
 Patent.




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Case 1:20-cv-00984-WCB     Document 389-1 Filed 11/19/24                                                                                                                                                                                                                           Page 12 of 53 PageID #:
                                         18709
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 Art Unit: 3992
                                                                                             ORDER FOR EX PARTE REEXAMINATION

 12.                          Examiners find Hamada paragraph [0061] and Hamada figure 4, which are

 reproduced below, form the basis of the "in table in vvhich verification information

 relating to each netwrk scent delivery device is stored ... to provide a real time status

 update for each netwrk scent delivery device." 2

                              Specifically, Examiners agree that Hamada figure 4, which is reproduced below,

 forms the basis of the "in table' because the terminal ID, the retail store ID, service ID,

 scent content information, scheduled time of arrival, and the "provided" flag are likely to

 read on the claimed "verification information." In addition, the "provided" flag is likely to

 read on the claimed "real time status update for each scent delivery device."

     [0061 J

     In t:ht~ itll'.ample descrH.1,~d aoovt~t scent. content information ls transmRted in adwmn~ frDm
     the scent service rr1ana9ement de·vice 1 to the $Cent gerterating device 'Ji ari4 ls held in the
     scent HefH.=iraUng devke 2. Howevet\ the scent generating device 2 rnay Mind a terrninal ID
     and a servk:t.~ lD to trm scent Sl'f.rvfcc management de-vit(~ 1 ~ath tlme a scent conttmt
     wpmduction request: is received frnm a mobile terminal 3 to the scent generating device 2
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     nH.m~gement devk:e 1 tTli.W th~n 1;.foterrnine whether or not th~ servh::e- can be pn:.h'klt•,d 1 ai:nd
     if H~i~ setvk:l~ t:ari bl.~ pn.wttl(~d; S{md tht~ scent instrut:tion 1nfcirmabon t:lxn~i.ptmd:ing h> the
     rnquest to th~ scent getmr:ating devi~ l.




           Terminal lD                                                   R.etaJt Store                                                  Servke lD                                                             Scent                                               Scheduled                                                    ~Provided"
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 2
     These citations are directed to the English translation of Hamada.




                                                                                                                                                       Page 193 of 493
Case 1:20-cv-00984-WCB      Document 389-1 Filed 11/19/24                                                                                                                                                                                                                                                                                  Page 13 of 53 PageID #:
                                         18710
 Application/Control Number: 90/019, 161                                                                                                                                                                                                                                                                                                                                                                                      Page 10
 Art Unit: 3992
            Examiners find Hamada paragraph [0046] and Hamada figure 7, which are

 reproduced below, form the basis of the "out table in which instructions for each netwrk

 scent delivery device are stored' because the scent instruction information of the scent

 service setting information table is likely to read on the "instructions for each netwrk

 scent delivery device."

 [0046]

 The data stornge i_.ffilt 29 stonis various typt~s of clat:a for the p:roc~ss-tng amJ stems~ stt.~nt
 servh:::e setting loformaUon table. Fig, 7 is an example of this scent servke setting
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 termlnaJ IDs,, service 1Dsi and scent content iriformaUon (scent lristn.u::Uon kiformauon) that
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 ge-nemttng device l can be rnaH1.ed by causing a cornputer wRh a CPU~ a storage clevle:e,
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                                              ,                                                                                                                                                                                                     """"""""""""""""f""""""""""""'"" '":::' """""""""""""'"                                                                                                                                                           j
        ......................................................................................................................................................... ..................................................................................................................................................~..................................................................................................................................................~



 13.        A review of the post grant history for the underlying patent indicates that there

 have been no other Office post grant challenges made to the patent (Reexamination

 Proceedings or Inter Partes Review, Post Grant Review, Covered Business Method

 trials). Accordingly, a discretionary denial of reexamination pursuant to 35 USC 325(d)

 is not applicable.

 14.        Because Examiners consider the new teachings of Hamada to be important in

 deciding whether the '388 Patent claims are patentable and there is no basis to reject




                                                                                                                                                                          Page 194 of 493
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                                         18711
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 Art Unit: 3992
 the request under 35 USC §325(d), Ex Parte Reexamination of claims 1-20 is

 ORDERED.



                                          Conclusion

 15.    The patent owner is reminded of the continuing responsibility under 37 CFR

 1.565(a) to apprise the Office of any litigation activity, or other prior or concurrent

 proceeding, involving Patent No. 10,838,388 throughout the course of this

 reexamination proceeding. The third party requester is also reminded of the ability to

 similarly apprise the Office of any such activity or proceeding throughout the course of

 this reexamination proceeding. See MPEP §§ 2207, 2282 and 2286.

        Extensions of time under 37 CFR 1.136(a) will not be permitted in these

 proceedings because the provisions of 37 CFR 1.136 apply only to "an applicant" and

 not to parties in a reexamination proceeding. Additionally, 35 U.S.C. 305 requires that

 reexamination proceedings "will be conducted with special dispatch" (37 CFR 1.550(a)).

 Extension of time in ex parte reexamination proceedings are provided for in 37 CFR

 1.550(c).

 16.    All correspondence relating to this ex parte reexamination proceeding should be

 directed as follows:

        By U.S. Postal Service Mail to:
              Mail Stop Ex Parte Reexam
              ATTN: Central Reexamination Unit
              Commissioner for Patents
              P.O. Box 1450
              Alexandria, VA 22313-1450




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Case 1:20-cv-00984-WCB      Document 389-1 Filed 11/19/24   Page 15 of 53 PageID #:
                                       18712
 Application/Control Number: 90/019, 161                                 Page 12
 Art Unit: 3992


       By FAX to:
             (571) 273-9900
             Central Reexamination Unit

 Signed:

 /DEANDRA M HUGHES/
 Reexamination Specialist, Art Unit 3992

 Conferees:

 /MATTHEW E HENEGHAN/
 Primary Examiner, Art Unit 3992
 /MICHAEL FUELLING/
 Supervisory Patent Examiner, Art Unit 3992




                                    Page 196 of 493
      Case 1:20-cv-00984-WCB                    Document 389-1          Filed 11/19/24          Page 16 of 53 PageID #:
                    UNITED STATES PATENT AND TRADEMARK
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    APPLICATION NO.            FILING DATE             FIRST NAMED INVENTOR              ATTORNEY DOCKET NO.                    CONFIRMATION NO.

       90/019,161              02/13/2023                    10838388                             760180.824                          7086

       23911            7590            07/14/2023                                                                  EXAMINER
       CROWELL & MORING LLP
                                                                                                              HUGHES, DEANDRA M
       INTELLECTUAL PROPERTY GROUP
       P.O. BOX 14300
       WASHINGTON, DC 20044-4300                                                                   ART UNIT                      PAPER NUMBER

                                                                                                       3992


                                                                                                  MAIL DATE                      DELIVERY MODE

                                                                                                   07/14/2023                        PAPER


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.




PTOL-90A (Rev. 04/07)


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                                               18714
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    EX PARTEREEXAMINATION COMMUNICATION TRANSMITTAL FORM


REEXAMINATION CONTROL NO. 90/019, 161.

PATENT UNDER REEXAMINATION 10838388.

ART UNIT 3992.




Enclosed is a copy of the latest communication from the United States Patent and Trademark
Office in the above identified ex parte reexamination proceeding (37 CFR 1.550(f)).



Where this copy is supplied after the reply by requester, 37 CFR 1.535, or the time for filing a
reply has passed, no submission on behalf of the ex parte reexamination requester will be
acknowledged or considered (37 CFR 1.550(g)).




PTOL-465 (Rev.07-04)

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                   Case 1:20-cv-00984-WCB                      Document 389-1 Filed 11/19/24                         Page 18 of 53 PageID #:
                                                                         Control No.                                  Patent Under Reexamination
                                                                          18715
                                                                         90/019, 161                                  10838388
   Office Action in Ex Parle Reexamination                                       Examiner                             Art Unit     AIA (FITF) Status
                                                                                 DEANDRA M HUGHES                     3992         Yes


                        -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address --

a. ~ Responsive to the communication(s) filed on 04 May 2023.
           0           A declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on _ _ .


b. 0       This action is made FINAL.

c. 0      A statement under 37 CFR 1.530 has not been received from the patent owner.

A shortened statutory period for response to this action is set to expire 2 month(s) from the mailing date of this letter.
Failure to respond within the period for response will result in termination of the proceeding and issuance of an ex parte reexamination
certificate in accordance with this action. 37 CFR 1.550(d). EXTENSIONS OF TIME ARE GOVERNED BY 37 CFR 1.550(c).
If the period for response specified above is less than thirty (30) days, a response within the statutory minimum of thirty (30) days
will be considered timely.

Part I             THE FOLLOWING ATTACHMENT(S) ARE PART OF THIS ACTION:
     1.        0       Notice of References Cited by Examiner, PTO-892.                 3. 0    Interview Summary, PTO-474.
     2. ~ Information Disclosure Statement, PTO/SB/08.                                  4.0
Part II            SUMMARY OF ACTION
       1a.         ~        Claims 1-20 are subject to reexamination.
       1b.         0        Claims _ _ are not subject to reexamination.
        2.         0        Claims _ _ have been canceled in the present reexamination proceeding.
        3.         0        Claims _ _ are patentable and/or confirmed.
        4.         ~        Claims 1-20 are rejected.
        5.         0        Claims _ _ are objected to.
        6.         0        The drawings, filed on _ _ are acceptable.
        7.         0        The proposed drawing correction, filed on _ _ has been (7a)           0 approved (7b)       0 disapproved.
        8.         0        Acknowledgment is made of the priority claim under 35 U.S.C. 119(a)-(d) or (f).
                       a)    0 All b)      0 Some* c)       0 None          of the certified copies have
                         10      been received.

                         2 0     not been received.

                         3 0     been filed in Application No. _ _
                         4 0     been filed in reexamination Control No.
                                                                           --
                         5 0     been received by the International Bureau in PCT application No. _ _
                        * See the attached detailed Office action for a list of the certified copies not received.
          9.       0     Since the proceeding appears to be in condition for issuance of an ex parte reexamination certificate except for formal
                         matters, prosecution as to the merits is closed in accordance with the practice under ExparteOuayle, 1935 C.D.
                         11, 453 O.G. 213.

       10.         0     Other:




cc: Requester (if third oartv requester)
 U.S. Patent and Trademark Office
 PTOL-466 (Rev. 08-13)                                                  Office Action in Ex Parte Reexamination              Part of Paper No.   20230626




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                   EX PARTE REEXAMINATION NON-FINAL REJECTION

                                       Acknowledgements

 1.     This is a non-final rejection in Ex Parte Reexamination of claims 1-20 of U.S.

 Patent No. 10,838,388, ("'388 Patent") issued Nov. 17, 2020 and filed on Sept. 10, 2018

 as U.S. Application No. 16/126,075 ("075 Application"), titled "SCENT SCHEDULE

 BASED ON RELATEDNESS OF SCENT DELIVERY DEVICES IN A SCENT

 DELIVERY SYSTEM"

 2.     The '388 Patent issued with claims 1-20 ("Patented Claims"), which are grouped

 as follows:

        -      Claims 1-7;
        -      Claims 8-14; and
        -      Claims 15-20.

 3.     The '388 Patent is a continuation of U.S. Patent No. 9,446,162 ("'162 Patent")

 issued Sep. 20, 2016 and filed on Jul. 10, 2013 as U.S. Application No. 13/939, 159

 ("'159 Application"), which is a continuation of U.S. Patent No. 10,073,430 ("'430

 Patent") issued Sep. 11, 2018 and filed on Aug. 22, 201 as U.S. Application No.

 13/939, 159 ("'159 Application").

 4.     U.S. Application No. 17/097,024 ("'024 Application") filed Nov. 13, 2020 is a

 continuation of the '388 Patent.

 5.     Examiners find the following litigation involving the '388 Patent.

        -      Prolitec Inc. v. Scentair Technologies, LLC, Civil Action No. 20-984-RGA-MP
               (United States District Court for the District of Delaware)

 6.     Examiners do not find any previous and/or co-pending Ex parte reexaminations

 or supplemental examinations for the '388 Patent.




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                                      Claim Rejections - 35 USC § 102

 7.     Claims 1-3, 5-10, 12-17, and 19-20 are rejected under 35 U.S.C. 102(a)(1) as

 being anticipated by JP 2009-217641 published September 24, 2009 ("Hamada"). All

 citations are directed to the English translation of Hamada.

        As to claim 1, Hamada discloses "a computer-implemented method for delivering

 scents," in for example, a retail store or a commercial facility. (see Figure 1).

        Hamada discloses "establishing a communication netwrk including a central

 controller and one or more netwrked scent delivery devices" because scent service

 management device (fig.1, #1 ), which reads on the claimed "central controller,"

 establishes a communication network (#4) with the scent generating devices (#2), which

 reads on the claimed "scent delivery devices."



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                                                18718
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        Hamada discloses "the central controller is configured to control an operation of

 each of the one or more netwrked scent delivery devices" because the scent service

 management device (fig.1, #1), which reads on the "central controller," is disclosed as

 sending scent instruction information to the scent generating devices (#2) (see 1[0022]).




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                                                        Figure 2 (>f H~mada
                 Pr«vlousl)' labeled "SERVICE PROV!OING VN!T" 12 has bem chang"d t(> "SERVlCE PRESENTING
                 UNIT" 1:.1 becao1>" the Hamada describe<! unit12 QS a urvice presenting unit (see pQrQgrnph [00271)




        Hamada discloses "controlling the operation is based on one or more master

 schedules" because Hamada teaches the scent generating device (#2) reads the scent

 instruction information and generates the corresponding scent instruction for a

 predetermined length of time, which reads on the claimed "master schedule" (see

 1[0023]).




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                                                                                                                                                                     18719
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                                     Hamada discloses "the central controller stores an in-table in which verification

 information 1 relating to each netwrked scent delivery device is stored" because

 Examiners consider Hamada's table in figure 4 to read on the claimed "in-table," which

 stores the SERVICE ID and the 'PROVIDED' FLAG, which reads on the claimed

 "verification information." Figure 2 shows scent service management device (i.e., the

 claimed "central controller") comprises service registration unit (#13), which Examiners

 find stores the service registration table (figure 4).




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     .................................................................................................................................................................................................................................................-.:...............................................................................-.;..............................................................................::................................................................................



                                     Hamada discloses "the central controller stores ... an out-table in which

 instructions for each netwrked scent delivery device are stored" at 1[0046] and figure 7

 because the data storage unit, which is part of scent service management device (i.e.,

 the claimed "central controller) stores scent content information (i.e., scent instruction

 information), which reads on the claimed "instructions for each netwrk scent delivery

 device."




 1
  Examiners consider the broadest reasonable interpretation ("BRI") of" verification information" to include
 but not be limited to the \€rification of proper data communication. See col.16:29-38, which provides the
 antecedent basis in the specification for the claim term "verification information."




                                                                                                                                                                                                       Page 213 of 493
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        Hamada discloses "generating command data that is configured to control the

 operation of a netwrked scent delivery device of the one or more netwrked scent

 delivery devices, wherein the command data is generated based on the instructions

 stored in the out-table of the central controller; transmitting the command data to the

 netwrked scent delivery device using the communication netwrk" because the service

 setting unit (fig. 2, #14) sends the scent content information (i.e., scent instruction

 information) of scent service setting information table, to the scent generating device

 (#14) at the retail store (see 1[0028]).

        In other words, the service setting unit (#14) generates the claimed "command

 data," the service setting information table (fig. 7) reads on the claimed "out-table," the

 scent content information (i.e., scent instruction information) reads on the claimed

 "instructions stored in the out-table," and the data storage unit, which is part of scent

 service management device (i.e., the claimed "central controller), stores the table of

 figure 7 (i.e., the claimed "out-table').

        Hamada discloses "receiving a signal from the netwrked scent delivery device

 using the communication netwrk" because Hamada teaches that the completion

 notification unit (#28) in the scent generation device sends a service completion

 notification including the TERMINAL ID and the SERVICE ID to the scent management




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 device (#1) (see 1[0059]). In other words, the service completion notification reads on

 the claimed "signal."

         Hamada discloses "the signal includes status data representing a status of the

 netwrked scent delivery device" because the service completion notification includes

 data comprising the TERMINAL ID, the SERVICE ID, and a notification to the scent

 management device (#1) that service has been provided to the retail store associated

 with these IDs (see 1[0059]). In other words, the service completion notification reads

 on the claimed "signal' and the "status data" are the TERMINAL ID, the SERVICE ID,

 and the notification that scent service has been provided.

         Hamada discloses " storing the status [data] 2 associated vvith the netwrked

 scent delivery device in the in-table of the central controller" because the log recording

 unit (#15) in the scent service management device (#1) receives the scent service

 completion notification and sets the "PROVIDED" FLAG corresponding to the

 TERMINAL ID and the SERVICE ID in the scent provision notification scent service

 registration table of figure 4 (see 1[0060]). Here, Examiners consider "the status [data]

 associated vvith the netwrk delivery device" to comprise the "PROVIDED" FLAG, the

 corresponding TERMINAL ID, and the corresponding SERVICE ID because the scent

 service completion notification includes the TERMINAL ID, the SERVICE ID, and a

 notification that scent service has been provided to the associated retail store (see

 11[0059]-[0060])


 2
   Examiners note that there is a lack of antecedent basis for the claim term "the status." Specifically, the
 claim phrase "the signal includes status data representing a status ... " does not affirmatively claim "a
 status" but rather, "status data representing a status." Thus, "a status" has not been claimed.
 Because consideration of 35 U.S.C. 112 is limited to amendatory (e.g., new language) matter in
 reexaminations ordered under 35 U.S.C. 304, the claim limitation "the status" is not rejected under
 §112(b) as indefinite for lacking an antecedent basis. See MPEP §2258(11). As such, Examiners construe
 the indefinite limitation "the status" as "the status data" to resolve the indefiniteness issue.




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         Hamada discloses "the status [datap stored in the-in table of the central

 controller identifies a functionality of the netwrked scent delivery device, thereby

 providing a real-time status update for each netwrked scent delivery device." As

 discussed above, the "status [data] associated vvith the netwrk delivery device"

 comprises the "PROVIDED" FLAG, the corresponding TERMINAL ID, and the

 corresponding SERVICE ID (see 11[0059]-[0060]). The scent content reproduction

 request sent from the mobile terminal (#3) at the retail store requesting the scent

 service includes the TERMINAL ID and the SERVICE ID of the retail store (see

 1[0057]). The provision determining unit (#26) uses the TERMINAL ID and the

 SERVICE ID received from mobile terminal (#3) to search the scent service setting

 information table (fig. 4) to determine whether the TERMINAL ID and the SERVICE ID

 are present in the scent service setting information table (see id.). If they are present,

 then service can be provided to the associated retail store (see id.). If not, then scent

 service is not provided (see id.). As such, the TERMINAL ID and the SERVICE ID,

 which comprise the status data stored in the scent service setting information table (i.e.,

 the claimed "in-table') "identifies a functionality of the netwrked scent delivery device"


 3
   Examiners construe the indefinite limitation "the status" as "the status data" to resolve the indefiniteness
 issue. See footnote 2.




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 because these received ID's determine whether scent service is available to the

 associated retail store. The other status data (i.e., the "PROVIDED" FLAG) provides a

 real-time status update for the networked scent delivery device because it updates the

 status of whether scent service was provided at the time of completion of the scent

 service (see 11[0060]-[0061 ]).

        As to claim 2, Hamada discloses "the status data corresponding to the netwrked

 scent delivery device indicates an operation status of the netwrked scent delivery

 device' because the "PROVIDED" FLAG indicates that the scent service operation has

 been completed (see 11[0060]-[0061]).

        As to claim 3, Hamada discloses "the operation status indicates whether or not

 the netwrked scent delivery device is operating to deliver the scenf' because the

 "PROVIDED" FLAG indicates the scent service operation has been completed and as

 such, the presence of the flag indicates the networked scent delivery device is not

 operating to deliver the scent because the scent service has been completed.

        As to claim 5, Hamada discloses "vvhen the command data is received at the

 netwrked scent delivery device over the communication netwrk, the netwrked scent

 delivery device is controlled in accordance vvith the command data" because the service

 setting unit (fig. 2, #14) sends the scent content information (i.e., scent instruction

 information) of scent service setting information table, to the scent generating device

 (#14) at the retail store where the scent service is provided a predetermined time (see

 1[0028]).

        As to claim 6, Hamada discloses "controlling the netwrked scent delivery device

 includes activating the netwrked scent delivery device to deliver a scent in accordance




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                                         18724
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 vvith the command data" because the service setting unit (fig. 2, #14) sends the scent

 content information (i.e., scent instruction information) of scent service setting

 information table, to the scent generating device (#14) at the retail store where the scent

 service is provided a predetermined time (see 1[0028]).

        As to claim 7, Hamada discloses "controlling the netwrked scent delivery device

 includes deactivating the netwrked scent delivery device, such that delivery of a scent

 is deactivated in accordance vvith the command data" because Hamada teaches after

 receiving the scent instruction information, the scent generating unit (#21) generates the

 scent corresponding to the scent instruction information for a predetermined amount of

 time (see 1[0058]). In other words, once the predetermined amount of time has lapsed,

 the scent service is deactivated.

        As to claim 8, the only difference between this claim and claim 1 is that the

 instant claim adds the following claim limitations and all the limitations that follow are

 identical to the claim 1:

        "A system for delivering scents, com prising:

               one or more data processors; and

               a non-transitory computer-readable storage medium containing
               instructions which, vvhen executed on the one or more data processors,
               cause the one or more data processors to perform operations
               including .... "


        Thus, Examiners find claim 8 is anticipated by Hamada for the same reasons set

 forth with respect to claim 1. Specifically, Examiners each of Hamada's scent

 generators (#21) have a data processor and the scent management device (#1) has at

 least one data processor (see figures 2 and 6).




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        As to claim 9, this claim is rejected for the same reasons as claim 2.

        As to claim 10, this claim is rejected for the same reasons as claim 3.

        As to claim 12, this claim is rejected for the same reasons as claim 5.

        As to claim 13, this claim is rejected for the same reasons as claim 6.

        As to claim 14, this claim is rejected for the same reasons as claim 7.

        As to claim 15, the only difference between this claim and claim 1 is that the

 instant claim adds the following claim limitations and all the limitations that follow are

 identical to the claim 1:

               "A computer-program product tangibly embodied in a non-transitory

        machine-readable storage medium, including instructions configured to

        cause a data processing apparatus to perform operations including: ... "

 Thus, Examiners find claim 15 is anticipated by Hamada for the same reasons set forth

 with respect to claim 1. Specifically, Examiners each of Hamada's scent generators

 (#21) have a data processor and the scent management device (#1) has at least one

 data processor (see figures 2 and 6).

        As to claim 16, this claim is rejected for the same reasons as claim 2.

        As to claim 17, this claim is rejected for the same reasons as claim 3.

        As to claim 19, this claim is rejected for the same reasons as claim 5.

        As to claim 20, this claim is rejected for the same reasons as claim 6.




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                                         18726
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                              Claim Rejections - 35 USC § 103

 8.     Claims 4, 11, and 18 are rejected under 35 U.S.C. 103 as being unpatentable

 over Hamada in view of US 2008/0081635 to Jonsson published April 3, 2008

 ("Jonsson").

        Hamada does not specifically disclose "the operation status indicates whether

 the netwrked scent delivery device is currently connected to the communication

 netwrk." It is well known that in networking communications, such as those that use the

 Internet or wireless mobile technology, as described in Hamada, various standards and

 protocols provide that acknowledgment and negative acknowledgment messages are

 sent to the transmitting device. These messages ensure reliability and error-control.

 Jonsson describes use of such ACK/NACK messages and that they are stored in

 memory (see 11[0038]-[0039]). A person of ordinary skill in the art would thus look to

 Jonsson for such a teaching to, at least in part, optimize traffic in the overall network, as

 taught by Jonsson (see 1[0008]).



                                          Conclusion

 9.     The patent owner is reminded of the continuing responsibility under 37 CFR

 1.565(a) to apprise the Office of any litigation activity, or other prior or concurrent

 proceeding, involving Patent No. 10,838,388 throughout the course of this

 reexamination proceeding. The third-party requester is also reminded of the ability to

 similarly apprise the Office of any such activity or proceeding throughout the course of

 this reexamination proceeding. See MPEP §§ 2207, 2282 and 2286.

        Extensions of time under 37 CFR 1.136(a) will not be permitted in these

 proceedings because the provisions of 37 CFR 1.136 apply only to "an applicant" and




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 not to parties in a reexamination proceeding. Additionally, 35 U.S.C. 305 requires that

 reexamination proceedings "will be conducted with special dispatch" (37 CFR 1.550(a)).

 Extension of time in ex parte reexamination proceedings are provided for in 37 CFR

 1.550(c).

 10.    All correspondence relating to this ex parte reexamination proceeding should be

 directed as follows:

        By U.S. Postal Service Mail to:
              Mail Stop Ex Parte Reexam
              ATTN: Central Reexamination Unit
              Commissioner for Patents
              P.O. Box 1450
              Alexandria, VA 22313-1450

        By FAX to:
              (571) 273-9900
              Central Reexamination Unit

 Signed:

 /DEANDRA M HUGHES/
 Reexamination Specialist, Art Unit 3992


 Conferees:


 /MATTHEW E HENEGHAN/
 Primary Examiner, Art Unit 3992
 /MICHAEL FUELLING/
 Supervisory Patent Examiner, Art Unit 3992




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                                                                                    United States Patent and Trademark Office
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                                                                                               Alexandria, Virginia 22313-1450
                                                                                               www.uspto.gov




    APPLICATION NO.            FILING DATE              FIRST NAMED INVENTOR              ATTORNEY DOCKET NO.                    CONFIRMATION NO.

       90/019,161              02/13/2023                     10838388                             760180.824                          7086

       23911            7590             10/06/2023                                                                  EXAMINER
       CROWELL & MORING LLP
                                                                                                               HUGHES, DEANDRA M
       INTELLECTUAL PROPERTY GROUP
       P.O. BOX 14300
       WASHINGTON, DC 20044-4300                                                                    ART UNIT                      PAPER NUMBER

                                                                                                        3992


                                                                                                   MAIL DATE                      DELIVERY MODE

                                                                                                    10/06/2023                        PAPER


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.




PTOL-90A (Rev. 04/07)


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                                               18729
           UNITED STATES PATENT AND TRADEMARK OFFICE

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                                                                         Control No.                                  Patent Under Reexamination
                                                                          18730
                                                                         90/019, 161                                  10838388
   Office Action in Ex Parle Reexamination                                       Examiner                             Art Unit     AIA (FITF) Status
                                                                                 DEANDRA M HUGHES                     3992         Yes


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           0           A declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on _ _ .


b. 0       This action is made FINAL.

c. 0      A statement under 37 CFR 1.530 has not been received from the patent owner.

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        7.         0        The proposed drawing correction, filed on _ _ has been (7a)           0 approved (7b}       0 disapproved.
        8.         0        Acknowledgment is made of the priority claim under 35 U.S.C. 119(a)-(d) or (f).
                       a)    0 All b}      0 Some* c)       0 None          of the certified copies have
                         10      been received.

                         2 0     not been received.

                         3 0     been filed in Application No. _ _
                         4 0     been filed in reexamination Control No.
                                                                           --
                         5 0     been received by the International Bureau in PCT application No. _ _
                        * See the attached detailed Office action for a list of the certified copies not received.
          9.       0     Since the proceeding appears to be in condition for issuance of an ex parte reexamination certificate except for formal
                         matters, prosecution as to the merits is closed in accordance with the practice under ExparteOuayle, 1935 C.D.
                         11, 453 O.G. 213.

       10.         0     Other:




cc: Requester (if third oartv requester)
 U.S. Patent and Trademark Office
 PTOL-466 (Rev. 08-13)                                                  Office Action in Ex Parte Reexamination              Part of Paper No.   20230921




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                               EX PARTE REEXAMINATION
                             SECOND NON-FINAL REJECTION

                                       Acknowledgements

 1.     This second non-final rejection is in response to the remarks filed September 14,

 2023 in Ex Parte Reexamination of claims 1-20 of U.S. Patent No. 10,838,388, ("'388

 Patent") issued Nov. 17, 2020 and filed on Sept. 10, 2018 as U.S. Application No.

 16/126,075 ("075 Application"), titled "SCENT SCHEDULE BASED ON RELATEDNESS

 OF SCENT DELIVERY DEVICES IN A SCENT DELIVERY SYSTEM."

 2.     This is a second non-final rejection because the rejection over Hamada has been

 modified to address PO's remarks traversing the rejection. Specifically, the thrust of the

 rejection has been modified so that Hamada's figure 3, rather than Hamada's figure 7,

 reads on the claimed "out-table."

 3.     The '388 Patent issued with claims 1-20 ("Patented Claims"), which are grouped

 as follows:

        -      Claims 1-7;
        -      Claims 8-14; and
        -      Claims 15-20.

 4.     The '388 Patent is a continuation of U.S. Patent No. 9,446,162 ("'162 Patent")

 issued Sep. 20, 2016 and filed on Jul. 10, 2013 as U.S. Application No. 13/939, 159

 ("'159 Application"), which is a continuation of U.S. Patent No. 10,073,430 ("'430

 Patent") issued Sep. 11, 2018 and filed on Aug. 22, 201 as U.S. Application No.

 13/939, 159 ("'159 Application").

 5.     U.S. Application No. 17/097,024 ("'024 Application") filed Nov. 13, 2020 is a

 continuation of the '388 Patent.




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 6.     Examiners find the following litigation involving the '388 Patent.

        -    Prolitec Inc. v. Scentair Technologies, LLC, Civil Action No. 20-984-RGA-M P
             (United States District Court for the District of Delaware)

 7.     Examiners do not find any previous and/or co-pending Ex parte reexaminations

 or supplemental examinations for the '388 Pa tent.



                                       Evidence Cited

 8.     JP 2009-217641 published September 24, 2009 to Shunichi Hamada

 ("Hamada").

 9.     Declaration of Robert Dezm elyk Under CFR § 1.132 executed September 14,

 2023 ("Dezmelyk Declaration").

 10.    Merriam-Webster's Collegiate Dictionary 11 th Ed., p. 1110 (2012) ("Dictionary

 Definition of 'Schedule"').



                     Response to Remarks filed September 14, 2023

 11.    As to claims 1, 8, and 15, Patent Owner ("PO") argues Hamada does not
        disclose "central controller ... controlling the operation [of each of the one or more
        networked scent delivery devices] is based on one or more master schedules"
        (Remarks 17-24).

        1.      PO argues a POSITA would not understand Hamada's 'predetermined

 length of time' to be the '388 Patent's "master schedule" (Remarks 17-21). Specifically,

 PO argues a POSITA applying the broadest reasonable interpretation ("BRI") standard

 would understand that a "master schedule' requires at least a starting time and a

 sequence of operations (e.g., a list of different start times in chronological order), as is

 consistent with the plain and ordinary meaning on a master schedule (see Remarks 18-




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 19). More specifically, PO relies on the opinion evidence of the Dezmelyk Declaration

 and the Dictionary Definition of "schedule' to support PO's BRI of "master schedule."

        Examiners disagree that the evidence supports a BRI of" master schedule" that

 requires at least a starting time and a sequence of operations (e.g., a list of different

 start times in chronological order) because the cited evidence does not support the

 narrower scope of 'a list of different start times in chronological order.' Nothing in the

 evidence requires a list of different start times and nothing in the evidence requires the

 times to be in chronological order.

        Nevertheless, the modified explanation of the rejection finds that Hamada

 discloses the Dictionary Definition of" schedule' (i.e., a procedural plan that indicates

 the time and sequence of each operation) because Hamada teaches the scent

 generation device (hereafter "generation device") reads the scent instruction information

 and generates the corresponding scent instruction for a predetermined length of time

 based on a scheduled time of provision provided by the user, which is stored in the

 scent service registration table of figure 4 (hereafter "registration table").

        In other words, Hamada discloses the scent generation begins at the scheduled

 time of provision (i.e., the start of the operation) and ends once the predetermined

 length of time has elapsed (i.e., the end of the operation, which is procedural plan (i.e.,

 a plan for generating a scent) that indicates the time (i.e., the scheduled time of

 provision) and sequence of each operation (i.e., beginning and end of the scent

 generation). Because Hamada's disclosed 'scheduled time of provision of the scent' and

 'predetermined length of time for the scent generation' reads on the claimed "master

 schedule," PO's argument is not persuasive.




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        2.       PO argues Hamada does not disclose controlling operation based on

 "master schedules" (Remarks 21-24). Here, the issue is whether the generation device

 is controlled as a function of the master schedule. Specifically, PO argues that in

 contrast to what is claimed, Hamada discloses that its generation device controls its

 own operation and does so not based on what is received from a central controller but

 based on what it receives from a user's mobile terminal when the user is nearby (see

 Remarks 21 ).

        Examiners disagree because Hamada's generation device is not controlled solely

 by what it receives from a user's mobile terminal when the user is nearby but rather the

 generation device receives instruction from the registration table, such as scheduled

 time of provision, and then generates the scent based on what is received from a user's

 mobile terminal when the user is nearby. As such, Hamada's scent service

 management device (hereafter "management device") controls the generation device

 based on a master schedule because control of the generation device comprises at

 least the scheduled time of provision, which is provided via the registration table stored

 in the data storage of the management device.

 12.    As to claims 1, 8, and 15, PO argues Hamada does not disclose "the central

 controller stores ... an out table in which instructions for each networked scent delivery

 device are stored' (Remarks 24-27).

        Specifically, Applicant argues figure 7 of Hamada (i.e., the scent service setting

 information table; hereafter "the setting information table") is stored in data storage unit

 (#29), which is part of the generation device and not the management device, which

 Examiners allege reads on the claimed "central controller."




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        Examiners agree. As such, the thrust of the rejection has been modified so that

 the rejection asserts that figure 3 of Hamada (i.e., the scent service information table;

 hereafter "information table"), which is disclosed as being stored in data storage unit

 (#16) of the management device, reads on the claimed "out-table' (see ,I[0031]).

 13.    As to claims 1, 8, and 15, PO argues Hamada does not disclose "generating

 command data that is configured to control the operation of a networked scent delivery

 device of the one or more networked scent delivery devices, wherein the command data

 is generated based on the instructions stored in the out table of the central controller."

 (Remarks 27-31 ). Specifically, PO asserts figure 7 of Hamada does not generate

 "command data that is configured to control the operation of a networked

 device ... based on instructions stored in the out table' (see Rem arks 28).

        This argument is moot because the thrust of the rejection has been modified so

 that figure 3 (i.e., the information table) and not figure 7 (i.e., the setting information

 table) reads on the claimed "out-table." In addition, the rejection has been modified so

 that the scent reproduction request received from the mobile terminal (#3), the scent

 content information in the information table (figure 3), and the predetermined length of

 time for emitting the scent comprise the claimed "command data."

 14.    As to claims 1, 8, and 15, PO argues Hamada does not disclose "storing the

 status [data] associated with the networked scent delivery device in the in-table of the

 central controller, wherein the status stored in the in-table of the central controller

 identifies a functionality of the networked scent delivery device" (Remarks 31-34).

        1.      PO argues Hamada's Terminal ID and Service ID are not a real time

 status update of the scent delivery service (Remarks 32). Specifically, PO asserts the




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 Terminal ID and the Service ID are not "status data" as required by the claims, because

 they are not included in "a signal from the networked scent delivery device," as required

 by the claims.

        This argument is not persuasive because Hamada teaches that the completion

 notification unit (#28) in the generation device sends a service completion notification

 including the TERMINAL ID and the SERVICE ID to the management device (#1) (see

 1[0059]). In other words, the service completion notification reads on the claimed

 "signal' and the notification that the service has been completed reads on the claimed

 "status data." Moreover, "associated' is a broad term, absent an explicit definition in the

 '388 Patent, which is missing here.

        2.        PO argues the PROVIDED flag is not a real time status update of the

 scent delivery service (Remarks 33-34). Specifically, PO asserts that the claims require

 that the status data provide "a real-time status update for each networked delivery

 device' and as such, the BRI of "status data" must require, at a minimum, that such

 "status data" indicates the current (or near-current) status of the networked scent

 delivery device (see Remarks 33).

        This argument is not persuasive because Hamada discloses that a service

 provision completion notification including the terminal ID and the service ID is sent to

 the management device after a certain period of time corresponding to the scent service

 provision time has passed (see 1[0059]). In other words, the status update (i.e., the

 notification that the scent service has been completed for the device corresponding to

 the terminal ID and the service ID) is in real-time because it is sent when the service

 has been completed (i.e., once the period of time corresponding to the scent service




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 provision time has passed), which Examiners find indicates the current (or near-current)

 status of the generation device (#2).

 15.    PO argues Hamada does not disclose "the operation status indicates whether or

 not the networked scent delivery device is operating to deliver a scenf' of claims 3, 10,

 and 17 (Remarks 34-35). Specifically, PO asserts that the claim language is in the

 present tense, meaning that the BRI of this limitation must indicate whether the scent is

 presently operating to deliver a scent at the time the operation status is scent from the

 scent delivery device (Remarks 34). Moreover, PO asserts Hamada's "PROVIDED" flag

 says nothing about what the scent generating device is currently doing, the operation of

 which could be completely unrelated to the scenting service for the particular user

 (Remarks 35).

        This argument is not persuasive because the "PROVIDED" FLAG indicates the

 scent service operation has been completed because "PROVIDED" is in the past tense

 and as such, the presence of the flag indicates the networked scent delivery device is

 not operating to deliver the scent because the use of the past tense of "provide" (i.e.,

 "PROVIDED") indicates the scent service has been completed. Moreover, irrespective

 of what the scent generating device is doing after the scent service has been provided,

 the claim limitation requires the operation status to indicate whether the "scent delivery

 device is operating to deliver a scent," and not merely whether the scent delivery device

 is simply operating. As such, the claim limitation is met when the status of the service

 relating to scent delivery is completed.

 16.    PO argues Hamada in view of Jonsson does not make obvious "the operation

 status indicates whether the networked scent delivery device is currently connected to




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 the communication network" as recited in claims 4, 11, and 18 (Remarks 35-38).

 Specifically, PO asserts Jonsson's ACK/NACK (acknowledgement or not

 acknowledgement) messages disclosed in Jonsson do not indicate whether the mobile

 terminal is currently connected to the communication network (see Remarks 36 and

 Dezmelyk Declaration 1133-41 ). PO cites the Dezmelyk Declaration at 1133-41 as

 evidence to support this argument. More specifically, the Dezmelyk Declaration at 135

 asserts that Jonsson's NACK message does not indicate that the mobile terminal is not

 currently connected to the communication network but is expected during normal link

 operation, and the system is adjusted so that NACK messages are received for

 approximately 10% of transmitted data blocks (citing Jonsson at 11[0006],[0026]).

        This argument is not persuasive because Jonsson teaches one known algorithm

 for adjusting the channel quality indicator (COi) is based on ACK/NACK

 (acknowledgement and not acknowledgement) messages received from the mobile

 terminal (see 1[0009]). Jonsson teaches that in this algorithm, if a NACK message is

 received, it indicates that a transmission of data was not received correctly in the mobile

 terminal (see id.). Moreover, Examiners do not find support in Jonsson for the Dezmelyk

 Declaration's opinion evidence at ,T35 that Jonsson's NACK message does not indicate

 that the mobile terminal is not currently connected to the communication network. As

 such, Examiners maintain that an indication that a transmission of data was not

 received correctly in the mobile terminal includes losing connection to the

 communication network.




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                                     Claim Rejections - 35 USC § 102

 17.    Claims 1-3, 5-10, 12-17, and 19-20 are rejected under 35 U.S.C. 102(a)(1) as

 being anticipated by JP 2009-217641 published September 24, 2009 ("Hamada"). All

 citations are directed to the English translation of Hamada.

        As to claim 1, Hamada discloses "a computer-implemented method for delivering

 scents," in for example, a retail store ora commercial facility (see Figure 1).

        Hamada discloses "establishing a communication network including a central

 controller and one or more networked scent delivery devices" because scent service

 management device (fig.1, #1 ), which reads on the claimed "central controller,"

 establishes a communication network (#4) with the scent generating devices (#2), which

 reads on the claimed "scent delivery devices."



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        Hamada discloses "the central controller is configured to control an operation of

 each of the one or more networked scent delivery devices" because the scent service

 management device (fig.1, #1), which reads on the "central controller," is disclosed as

 sending scent instruction information to the scent generating devices (#2) (see 1[0022]).




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                                                         Figure 2 (>f H~mada
                  Pr«vlousl)' labeled "SERVICE PROV!OING VN!T" 12 has bem chang"d t(> "SERVlCE PRESENTING
                  UNIT" 1:.1 becao1>" the Hamada describe<! unit12 QS a urvice presenting unit (see pQrQgrnph [00271)




        Hamada discloses "controlling the operation is based on one or more master

 schedules" because Hamada teaches the scent generating device (#2) reads the scent

 instruction information and generates the corresponding scent instruction for a

 predetermined length of time based on a scheduled time of provision provided by the

 user, which is stored in the scent service registration table of figure 4 (see 11[0021],

 [0023], [0037]). Thus, the operation of the scent generation device is controlled based

 on a "master schedule," i.e., the predetermined length of time and the scheduled time of




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 provision, because operation of the scent generation device begins at the scheduled

 time of provision and continues for predetermined length of time.

         Hamada discloses "the central controller stores an in-table in which verification

 information relating to each networked scent delivery device is stored" because

 Examiners find Hamada's table in figure 4 reads on the claimed "in-table," which stores

 the SERVICE ID and the 'PROVIDED' FLAG, which reads on the claimed "verification

 information" 1 . Figure 2 shows scent service management device (i.e., the claimed

 "central controller') com prises service registration unit (#13), which is stored in data

 storage unit (#16) of the service management device (see 1[0027]).




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         Hamada discloses "the central controller stores ... an out-table in which

 instructions for each networked scent delivery device are stored" because Examiners

 find figure 3, which is reproduced below, reads on the claimed "out-table." Hamada

 discloses figure 3, which is an example of a scent service information table, is stored in

 data storage unit (#16) of scent service management device, which Examiners find




 1
   "Verification information" is a broad term, absent an explicit definition in the '388 Patent Specification,
 which is missing here. Examiners find the broadest reasonable interpretation ("BRI") of" verification
 information" to include but not be limited to the verification of proper data communication. See col.16:29-
 38, which provides the antecedent basis in the specification for the claim term "verification information."




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 reads on the claimed "central controller' (see Examiner Annotated figure 2 above).

 Thus, Hamada discloses "the central controller stores ... an out-table .... "

         Further, Hamada discloses this scent service information table shown in figure 2

 stores "instructions for each networked scent delivery device" because it stores scent

 content information (i.e., scent instruction information) 2 , which reads on the claimed

 "instructions for each network scent delivery device' (see 1[0027]).




         Hamada discloses "generating command data that is configured to control the

 operation of a networked scent delivery device of the one or more networked scent

 delivery devices, wherein the command data is generated based on the instructions

 stored in the out-table of the central controller" because the user of mobile terminal (#3),

 sends a scent content reproduction request to the generation device (#2), which reads

 the scent instruction information (i.e., the scent content information) stored in the

 information table (figure 3) and generates the scent in response to the received scent

 content reproduction request (see 1[0023]).




 2
  At ,r[0046], Hamada specifically discloses that 'scent content information' is 'scent instruction
 information' because it specifically states "scent content information (scent instruction information)."




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         In other words, the claimed "command data that is configured to control the

 operation of a networked scent delivery device of the one or more networked scent

 delivery devices" is generated from the scent reproduction request from the user at the

 mobile device (#3) and the scent content information (scent instruction information)

 stored in the information table of figure 3, which Examiners find reads on the claimed

 "out table." As such, "the command data is generated based on the instructions stored

 in the out-table of the central controller" because the generation device is controlled via

 the scent reproduction request from the mobile device (#3) and the scent content

 information, which is stored in the information table (i.e., the claimed "out-table') of the

 central controller.

         In addition, the claimed "command data" (i.e., the scent reproduction request +

 the scent content information + predetermined length of time for emitting the scent) is

 transmitted "using the communication network" because Ham ada's communication

 network includes a wireless network, such as a mobile phone network, and mobile

 terminal (#3) is described as being connected to this wireless network (see 1[0019]).

 Thus, Hamada discloses "transmitting the command data to the networked scent

 delivery device using the communication network."

         Hamada discloses "receiving a signal from the networked scent delivery device

 using the communication network" because Hamada teaches that the completion

 notification unit (#28) in the generation device sends a service completion notification

 including the TERMINAL ID and the SERVICE ID to the management device (#1) (see

 1[0059]). In other words, the service completion notification reads on the claimed

 "signal."




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         Hamada discloses "the signal includes status data representing a status of the

 networked scent delivery device" because the service completion notification includes

 data comprising the TERMINAL ID, the SERVICE ID, and a notification to the scent

 management device (#1) that service has been provided to the retail store associated

 with these IDs (see 1[0059]). In other words, the service completion notification reads

 on the claimed "signal' and the "status data" are the TERMINAL ID, the SERVICE ID,

 and the notification that scent service has been provided.

         Hamada discloses " storing the status [data] 3 associated with the networked

 scent delivery device in the in-table of the central controller" because the log recording

 unit (#15) in the scent service management device (#1) receives the scent service

 completion notification and sets the "PROVIDED" FLAG corresponding to the

 TERMINAL ID and the SERVICE ID in the scent provision notification scent service

 registration table of figure 4 (see 1[0060]). Note "associated with" is a broad term,

 absent an explicit definition in the '388 Patent, which is missing here.

         In other words, Examiners find "the status [data] associated with the network

 delivery device" to comprise the "PROVIDED" FLAG, the corresponding TERMINAL ID,

 and the corresponding SERVICE ID because the scent service completion notification

 includes the TERMINAL ID, the SERVICE ID, and a notification that scent service has

 been provided to the associated retail store (see 11[0059]-[0060])




 3
   Examiners note that there is a lack of antecedent basis fort he claim term "the status." Specifically, the
 claim phrase "the signal includes status data representing a status ... " does not affirmatively claim "a
 status" but rather, "status data representing a status." Thus, "a status" has not been claimed.
 Because consideration of 35 U.S.C. 112 is limited to amendatory (e.g., new language) matter in
 reexaminations ordered under 35 U.S.C. 304, the claim limitation "the status" is not rejected under
 §112(b) as indefinite for lacking an antecedent basis. See MPEP §2258(11). As such, Examiners construe
 the indefin~e limitation "the status" as "the status data" to resolve the indefiniteness issue.




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         Hamada discloses "the status [dataj4 stored in the-in table of the central

 controller identifies a functionality of the networked scent delivery device, thereby

 providing a real-time status update for each networked scent delivery device." As

 discussed above, the "status [data] associated with the network delivery device"

 comprises the "PROVIDED" FLAG, the corresponding TERMINAL ID, and the

 corresponding SERVICE ID (see 11[0059]-[0060]). The scent content reproduction

 request sent from the mobile terminal (#3) at the retail store requesting the scent

 service includes the TERMINAL ID and the SERVICE ID of the retail store (see

 1[0057]). The provision determining unit (#26) uses the TERMINAL ID and the

 SERVICE ID received from mobile terminal (#3) to search the scent service setting

 information table (fig. 4) to determine whether the TERMINAL ID and the SERVICE ID

 are present in the scent service setting information table (see id.). If they are present,

 then service can be provided to the associated retail store (see id.). If not, then scent

 service is not provided (see id.). As such, the TERMINAL ID and the SERVICE ID,

 which comprise the status data stored in the scent service setting information table (i.e.,

 the claimed "in-table') "identifies a functionality of the networked scent delivery device"


 4
   Examiners construe the indefinite limitation "the status" as "the status data" to resolve the indefiniteness
 issue. See footnote 2.




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 because these received ID's determine whether scent service is available to the

 associated retail store. The other status data (i.e., the "PROVIDED" FLAG) provides a

 real-time status update for the networked scent delivery device because it updates the

 status of whether scent service was provided at the time of completion of the scent

 service, which Examiners find is in "real-time' (see 11[0060]-[0061]).

        As to claim 2, Hamada discloses "the status data corresponding to the networked

 scent delivery device indicates an operation status of the networked scent delivery

 device' because the "PROVIDED" FLAG indicates that the scent service operation has

 been completed and Examiners find that an indication that operation has been

 completed reads on the claimed "operation status" (see 11[0060]-[0061]).

        As to claim 3, Hamada discloses "the operation status indicates whether or not

 the networked scent delivery device is operating to deliver the scenf' because the

 "PROVIDED" FLAG indicates that the scent service operation has been completed and

 as such, the presence of the flag indicates the networked scent delivery device is not

 operating to deliver the scent because the scent service has been completed (see

 11[0060]-[0061 ]).

        As to claim 5, Hamada discloses "when the command data is received at the

 networked scent delivery device over the communication network, the networked scent

 delivery device is controlled in accordance with the command data" because when the

 generation device receives the scent reproduction request from the mobile terminal (#3)

 via the communication network (#4), it generates the scent corresponding to the scent

 content information. Thus, the generation device is controlled in accordance with the

 "command data" (i.e., the scent reproduction request + the scent content information +




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 predetermined length of time for emitting the scent) because it generates the scent

 when it receives the scent generation request and the scent content information for the

 predetermined length of time.

        As to claim 6, Hamada discloses "controlling the networked scent delivery device

 includes activating the networked scent delivery device to deliver a scent in accordance

 with the command data" because, as discussed in the rejection of claim 5, when the

 generation device receives the scent reproduction request from the mobile terminal (#3)

 via the communication network (#4), it generates the scent corresponding to the scent

 content information (see 1[0023]).

        As to claim 7, Hamada discloses "controlling the networked scent delivery device

 includes deactivating the networked scent delivery device, such that delivery of a scent

 is deactivated in accordance with the command data" because Hamada teaches that

 after receiving the scent instruction information, the scent generating unit (#21)

 generates the scent corresponding to the scent instruction information for a

 predetermined amount of time (see 1[0058]). In other words, once the predetermined

 amount of time has lapsed, the scent service is deactivated.

        As to claim 8, the only difference between this claim and claim 1 is that the

 instant claim adds the following claim limitations and all the limitations that follow are

 identical to the claim 1:

        "A system for delivering scents, comprising:

               one or more data processors; and

               a non-transitory computer-readable storage medium containing
               instructions which, when executed on the one or more data processors,
               cause the one or more data processors to perform operations
               including .... "




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        Thus, Examiners find claim 8 is anticipated by Hamada for the same reasons set

 forth with respect to claim 1. Specifically, Examiners each of Hamada's scent

 generators (#21) have a data processor and the scent management device (#1) has at

 least one data processor (see figures 2 and 6).

        As to claim 9, this claim is rejected for the same reasons as claim 2.

        As to claim 10, this claim is rejected for the same reasons as claim 3.

        As to claim 12, this claim is rejected for the same reasons as claim 5.

        As to claim 13, this claim is rejected for the same reasons as claim 6.

        As to claim 14, this claim is rejected for the same reasons as claim 7.

        As to claim 15, the only difference between this claim and claim 1 is that the

 instant claim adds the fallowing claim limitations and all the limitations that fallow are

 identical to the claim 1:

        "A computer-program product tangibly embodied in a non-transitory
        machine-readable storage medium, including instructions configured to
        cause a data processing apparatus to perform operations including: ... "

 Thus, Examiners find claim 15 is anticipated by Hamada for the same reasons set forth

 with respect to claim 1. Specifically, Examiners each of Hamada's scent generators

 (#21) have a data processor and the scent management device (#1) has at least one

 data processor (see figures 2 and 6).

        As to claim 16, this claim is rejected for the same reasons as claim 2.

        As to claim 17, this claim is rejected for the same reasons as claim 3.

        As to claim 19, this claim is rejected for the same reasons as claim 5.

        As to claim 20, this claim is rejected for the same reasons as claim 6.




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                              Claim Rejections - 35 USC § 103

 18.    Claims 4, 11, and 18 are rejected under 35 U.S.C. 103 as being unpatentable

 over Hamada in view of US 2008/0081635 to Jonsson published April 3, 2008

 ("Jonsson").

        Hamada does not specifically disclose "the operation status indicates whether

 the networked scent delivery device is currently connected to the communication

 network." It is well known that in networking communications, such as those that use the

 Internet or wireless mobile technology, as described in Hamada, various standards and

 protocols provide that acknowledgment and negative acknowledgment messages are

 sent to the transmitting device. These messages ensure reliability and error-control.

 Jonsson describes use of such ACK/NACK messages and that they are stored in

 memory (see 11[0038]-[0039]). A person of ordinary skill in the art would thus look to

 Jonsson for such a teaching to, at least in part, optimize traffic in the overall network, as

 taught by Jonsson (see 1[0008]).



                                          Conclusion

 19.    The patent owner is reminded of the continuing responsibility under 37 CFR

 1.565( a) to apprise the Office of any litigation activity, or other prior or concurrent

 proceeding, involving Patent No. 10,838,388 throughout the course of this

 reexamination proceeding. The third-party requester is also reminded of the ability to

 similarly apprise the Office of any such activity or proceeding throughout the course of

 this reexamination proceeding. See MPEP §§ 2207, 2282 and 2286.




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        Extensions of time under 37 CFR 1.136(a) will not be permitted in these

 proceedings because the provisions of 37 CFR 1.136 apply only to "an applicant" and

 not to parties in a reexamination proceeding. Additionally, 35 U.S.C. 305 requires that

 reexamination proceedings "will be conducted with special dispatch" (37 CFR 1.550(a)).

 Extension of time in ex parte reexamination proceedings are provided for in 37 CFR

 1.550(c).

 20.    All correspondence relating to this ex parte reexamination proceeding should be

 directed as fallows:

        By U.S. Postal Service Mail to:
              Mail Stop Ex Parte Reexam
              ATTN: Central Reexamination Unit
              Commissioner for Patents
              P.O. Box 1450
              Alexandria, VA 22313-1450

        By FAX to:
              (571) 273-9900
             Central Reexamination Unit

 Signed:

 /DEANDRA M HUGHES/
 Reexamination Specialist, Art Unit 3992

 Conferees:



 /MATTHEW E HENEGHAN/
 Primary Examiner, Art Unit 3992
 /MICHAEL FUELLING/
 Supervisory Patent Examiner, Art Unit 3992




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